
128 Mich. App. 528 (1983)
340 N.W.2d 316
LENAWEE COUNTY ROAD COMMISSION
v.
DEPARTMENT OF TRANSPORTATION
Docket No. 64523.
Michigan Court of Appeals.
Decided July 27, 1983.
Robertson, Bartlow &amp; Des Chenes, P.C. (by Alexander M. Des Chenes), for plaintiffs.
Frank J. Kelley, Attorney General, Louis J. Caruso, Solicitor General, and Carl K. Carlsen and Clive D. Gemmil, Assistants Attorney General, for defendant.
Before: V.J. BRENNAN, P.J., and M.J. KELLY and N.J. KAUFMAN,[*] JJ.
PER CURIAM.
Plaintiffs appeal as of right from a grant of summary judgment on their complaint against the state in the Court of Claims. We affirm.
Alice Painter and Wanda Broad were injured when the automobile they occupied was struck by a truck owned by the Lenawee County Road Commission. They sued the commission in circuit court. The commission and its insurer sought contribution from the state in a Court of Claims action. They alleged that the accident had been caused by the negligent design of the intersection at which it occurred. The state was required to maintain the intersection in reasonable repair by the terms of MCL 691.1402; MSA 3.996(102).
In granting defendant's motion for summary judgment, the trial judge ruled that an action for contribution did not come within the exception to governmental immunity stated in MCL 691.1402; MSA 3.996(102).[1] He relied on this Court's opinions in Sziber v Stout, 111 Mich App 450; 315 NW2d *530 166 (1981), lv gtd 414 Mich 864 (1982), and Genesee County Road Comm v State Highway Comm, 86 Mich App 294; 272 NW2d 632 (1978). The conclusion that contribution under this statutory provision is allowed was reached in May v Wolverine Tractor &amp; Equipment Co, 107 Mich App 163; 309 NW2d 594 (1981).
We adopt the reasoning used by the Court in Sziber, supra. We will not expand the scope of the exceptions to governmental immunity beyond the classes clearly covered by the language of the Legislature. Although this result may seem unfair, the same argument may be made about the results in many cases in which the government's immunity is invoked. The design of a more equitable system is, however, for the Legislature.
Affirmed.
NOTES
[*]  Former Court of Appeals judge, sitting on the Court of Appeals by assignment pursuant to Const 1963, art 6, § 23 as amended in 1968.
[1]  "Each governmental agency having jurisdiction over any highway shall maintain the highway in reasonable repair so that it is reasonably safe and convenient for public travel. Any person sustaining bodily injury or damage to his property by reason of failure of any governmental agency to keep any highway under its jurisdiction in reasonable repair, and in condition reasonably safe and fit for travel, may recover the damages suffered by him from such governmental agency. The liability, procedure and remedy as to county roads under the jurisdiction of a county road commission shall be as provided in section 21, chapter 4 of Act No. 283 of the Public Acts of 1909, as amended, being section 224.21 of the Compiled Laws of 1948. The duty of the state and the county road commissions to repair and maintain highways, and the liability therefor, shall extend only to the improved portion of the highway designed for vehicular travel and shall not include sidewalks, crosswalks or any other installation outside of the improved portion of the highway designed for vehicular travel. No action shall be brought aginst the state under this section except for injury or loss suffered on or after July 1, 1965. Any judgment against the state based on a claim arising under this section from acts or omissions of the state highway department shall be payable only from restricted funds appropriated to the state highway department or funds provided by its insurer."

